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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Brennon J. Nastacio, a/k/a Bravo One,         )      Case No. 1:17-cr-030
                                              )
               Defendant.                     )


       The court convened a detention hearing for defendant on February 13, 2017. As the

proceedings were concluding, defendant moved to continue the hearing until February 16, 2017, as

he requires him more time to gather information to present to the court.

       Defendant’s motion is GRANTED. The detention hearing shall be continued until February

16, 2017, at 1:30 p.m. In the interim, defendant is committed to the custody of the Attorney General

or designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

Defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.

On order of a court of the United States or on request of an attorney for the Government, the person

in charge of the corrections facility shall deliver defendant to the United States marshal for the

purpose of an appearance in connection with court proceedings.

       IT IS SO ORDERED.

       Dated this 13th day of February, 2017.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
